                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN




WILLIAM FEEHAN,

                          Plaintiff,                      CASE NO. 2:20-cv-1771
              v.

WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS,
 MARK L. THOMSEN, MARGE
 BOSTELMAN, JULIE M. GLANCEY,
 DEAN KNUDSON, ROBERT F.
 SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                          Defendants.



                        PROPOSED BRIEFING SCHEDULE FOR
    PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER AND
 PRELIMINARY INJUNCTION TO BE CONSIDERED IN AN EXPEDITED MANNER




    Per the Court’s Order of December 2, 2020 and FRCP 65, Plaintiff’s counsel have

communicated with counsel for all Defendants and anticipate speaking with them further this

morning of December 3, 2020.

    Plaintiff will propose the following briefing schedule and will advise the Court following

discussion with Defendants’ counsel.

    • Friday, Dec. 4, 8:00 p.m.        Defendants file response to Motion for TRO.

    • Saturday, Dec. 5, 8:00 p.m.      Plaintiff files reply to Defendants’ response.

    • ______________________           Hearing as directed by the Court. Plaintiff proposes to

                                       submit the matter on briefs without argument.

                                                1

         Case 2:20-cv-01771-PP Filed 12/03/20 Page 1 of 4 Document 10-1
       Respectfully submitted, this 3st day of December 2020.


                                           LEAD COUNSEL FOR PLAINTIFF


                                           /s Sidney Powell**
                                           Sidney Powell
                                           Texas Bar No. 16209700
                                           Sidney Powell PC
                                           2911 Turtle Creek Blvd.
                                           Suite 300
                                           Dallas, Texas 75219
                                           (517) 763-7499
                                           sidney@federalappeals.com

                                           Howard Kleinhendler
                                           New York Bar No. 2657120
                                           Howard Kleinhendler Esquire
                                           369 Lexington Avenue, 12th Floor
                                           New York, New York 10017
                                           (917) 793-1188
                                           howard@kleinhendler.com

**Application for admission forthcoming


                                           Local Counsel for Plaintiffs
                                           Michael D. Dean
                                           Wis. Bar No.01019171
                                           P.O. Box 2545
                                           Brookfield, WI 53008
                                           (262) 798-8044
                                           miked@michaelddeanllc.com

                                           Daniel J. Eastman
                                           Wis. Bar No.1011433
                                           P.O. Box 158
                                           Mequon, Wisconsin 53092
                                           (414) 881-9383
                                           daneastman@me.com




                                              2

        Case 2:20-cv-01771-PP Filed 12/03/20 Page 2 of 4 Document 10-1
                             NOTICE TO DEFENDANTS’ COUNSEL

    Plaintiff certifies that upon filing of this Motion that he provided notice of this action by email

communication with Counsel for Defendants on December 4, 2020:

  Wisconsin Elections Commission and Wisconsin Election Commissioners

                               Michael Murphy, Esq.
                               Assistant Attorney General
                               Special Litigation and Appeals Unit
                               Wisconsin Department of Justice
                               P.O. Box 7857
                               Madison, WI 53707-7857
                               (608) 266-5457
                               murphysm@doj.state.wi.us

  Governor Tony Evers

                               Jeffrey A. Mandell, Esq.
                               Stafford Rosenbaum LLP
                               222 West Washington Avenue
                               Suite 900
                               P.O. Box 1784
                               Madison, Wisconsin 53701-1784
                               (608) 210-6303
                               jmandell@staffordlaw.com




                                                  3

         Case 2:20-cv-01771-PP Filed 12/03/20 Page 3 of 4 Document 10-1
                      CERTIFICATE OF ELECTRONIC SERVICE

    Pursuant to FRCP 65, this is to certify that upon filing of this Proposed Briefing Schedule

with the Court through the ECF PACER System, Plaintiff will provide simultaneous electronic

service to Defendants counsel as follows:

  Wisconsin Elections Commission and Wisconsin Election Commissioners

                             Michael Murphy, Esq.
                             Assistant Attorney General
                             murphysm@doj.state.wi.us

  Governor Tony Evers

                             Jeffrey A. Mandell, Esq.
                             Stafford Rosenbaum LLP
                             jmandell@staffordlaw.com




                                              4

         Case 2:20-cv-01771-PP Filed 12/03/20 Page 4 of 4 Document 10-1
